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 By first class mail and ECF

Hon. John T. Copenhaver, Jr.
6009 Robert C. Byrd United States Courthouse
300 Virginia Street East
Charleston, WV 25301

          Re:       United States v. Bayer CropScience LP, No. 2: 15-cv-13331
                    March 28, 2018 Status report on Expiration ~f Equipment Bids
                    for Appendices B-1, B-2 of Notice of Second Modification (ECF 25-1)

Dear Judge Copenhaver,

        As suggested by this Court's clerk during a March 28, 2018 conference call between the
parties to the above referenced matter and proposed intervenors, Bayer CropScience LP
("BCS"), respectfully submits this status report on the expiration of the equipment bids for
proposed substitute supplemental environmental projects (SEPs), Appendices B-1 and B-2, (the
"Alternative SEPs") attached to the Notice of Lodging of the Second Modification to the
Consent Decree (ECF #25-1 ).

                                        Background

        In accordance with the Consent Decree, BCS had agreed to perform a SEP involving the
expansion of the West Sump to provide additional storage capacity to prevent untreated process
wastewater from overflowing into the Kanawha River during heavy rain events, fire-fighting
emergencies and process upsets (the "West Sump Expansion SEP"). Between the lodging of the
agreement on this SEP and the Court's approval of the Consent Decree, BCS made modifications
to the West Sump that have substantially reduced or eliminated overflows of untreated
wastewater, and provided the government with evidence demonstrating that no overflows had
occurred since late 2013. Additionally, BCS encountered soil contamination during the initial
stage of construction that threatened the health and safety of construction workers along with
other conditions that significantly complicated the construction activities. BCS reported the
conditions to the site owner, Dow, who in turn reported the contamination to the United States
Environmental Protection Agency ("EPA").
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        BCS proposed substituting the Alternative SEPs for the West Sump Expansion SEP. The
government approved and accepted both the cancellation of the West Sump Expansion SEP and
the Alternative SEPs. The Alternative SEPs better advance the objectives of chemical accident
prevention laws that form the underlying basis of this enforcement action.

        The Consent Decree states that the Parties may modify the Consent Decree only upon a
written agreement signed by the Parties, and that material changes are effective only upon
approval by the Court (ECF #19184). The government filed a Second Modification to the
Consent Decree agreeing to delete paragraph 23.a. of the Consent Decree and replace it in its
entirety with the following:

                The Volunteer Fire Department ("VFD") Equipment SEPs (Appendices B-1 and
B-2) will enhance the ability and capability of emergency responders to address releases and
respond to chemical emergencies in Kanawha County by providing to the Jefferson Volunteer
Fire Department and Institute Volunteer Fire Department: fire trucks; modern specialized
chemical fire-fighting equipment; base and mobile radios: and individual air packs with thermal
imaging cameras built in.

                                        Notice to the Court

        BCS hereby advises the Court that it has become necessary to re-bid the equipment to be
donated to the VFDs, as the existing bids have expired. In order for BCS to purchase and donate
equipment to the VFDs, they must establish the existence of the equipment, or arrange for its
manufacture, according to current 2018 specifications. Thereafter, BCS must bid on the
equipment, which, if stocked, a vendor can hold for 30 days. If the equipment is not in stock, the
equipment must be manufactured. A bid is typically good for three to four months. As the
specialized fire-fighting equipment must conform to 2018 standards, BCS has learned that the
equipment costs will increase, in particular with respect to the fire trucks, by approximately
$4,000 ($2,000 for each truck), and likely more for other items.

         This writing shall constitute notice to this Court that the fire departments' desire for the
specialized fire-fighting equipment is unchanged, that BCS is in the process of requesting new
equipment bids, that BCS remains willing to perform the modified SEPs, and thus, BCS is not
opposing the modification, nor seeking to modify the SEPs again. Accordingly, nothing about
this status report should prevent the Court from entering the Second Modification. BCS will
notify the Court of any further development.

                                                    Res ec~ully,     fj,
                                                      1   een D. Millett
EDM/deh
cc: Chintan Amin, Bayer U.S., Sr. Counsel
    Caroline Belk, Bayer U.S., Sr. Counsel
